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                 In the United States Court of Federal Claims
                                     OFFICE OF SPECIAL MASTERS
                                              No. 10-668V
                                          (Not to be published)

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                                *
V.R., by her mother             *
EVGENIYA KIM,                   *
                                *                                         Filed: February 24, 2015
                    Petitioner, *
                                *                                         Decision by Stipulation; Attorney’s
              v.                *                                         Fees & Costs
                                *
SECRETARY OF HEALTH AND         *
HUMAN SERVICES ,                *
                                *
                    Respondent. *
                                *
*****************************

Edward David, Roseland, NJ, for Petitioner

Ann Martin, Washington, DC, for Respondent

                            ATTORNEY’S FEES AND COSTS DECISION 1

        On October 4, 2010, Evgeniya Kim filed a petition on behalf of V.R. seeking
compensation under the National Vaccine Injury Compensation Program (Athe Vaccine
Program@). On November 24, 2014, Petitioner filed a Motion for a Decision Dismissing the
Petition, which I subsequently granted.

       On February 24, 2015, counsel for both parties filed a joint stipulation for attorney’s fees
and costs. The parties have stipulated that Petitioner’s counsel should receive a lump sum of
$25,000.00, in the form of a check payable to Petitioner and Petitioner’s counsel. This amount

1
  Because this decision contains a reasoned explanation for my action in this case, I will post this decision on the
United States Court of Federal Claims’ website, in accordance with the E-Government Act of 2002, Pub. L. No.
107-347, § 205, 116 Stat. 2899, 2913 (codified as amended at 44 U.S.C. § 3501 note (2006)). As provided by 42
U.S.C. § 300aa-12(d)(4)(B), however, the parties may object to the posted decision’s inclusion of certain kinds of
confidential information. Specifically, under Vaccine Rule 18(b), each party has 14 days within which to request
redaction “of any information furnished by that party: (1) that is a trade secret or commercial or financial in
substance and is privileged or confidential; or (2) that includes medical files or similar files, the disclosure of which
would constitute a clearly unwarranted invasion of privacy.” Vaccine Rule 18(b). Otherwise, the whole decision will
be available to the public. (Id.)
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represents a sum to which respondent does not object. In addition, and in compliance with
General Order #9, Petitioner has represented that she did incur any reimbursable costs in
proceeding on this petition.

        I approve the requested amount for attorney’s fees and costs as reasonable. Accordingly,
an award should be made in the form of a check in the amount of $25,000 payable jointly to
Petitioner and Petitioner’s counsel, Edward David, Esq. In the absence of a motion for review
filed pursuant to RCFC Appendix B, the clerk of the court SHALL ENTER JUDGMENT in
accordance with the terms of the parties’ stipulation. 2


         IT IS SO ORDERED.
                                                                     /s/ Brian H. Corcoran
                                                                        Brian H. Corcoran
                                                                        Special Master




2
  Pursuant to Vaccine Rule 11(a), the parties may expedite entry of judgment by filing a joint notice renouncing their
right to seek review.
